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                                AFFIDAVIT TO COMPLAINT

I.     Agent Background

       I, Stephen M. Malaczewski, being duly sworn and deposed, stated the following:

       1.      I am an “investigative or law enforcement officer of the United States”

empowered to make arrests within the meaning of Title 18, United States Code, Section 3052

and to execute search warrants and conduct seizures within the meaning of Title 18, United

States Code, Section 3107 for violations of the laws of the United States.

       2.      Your affiant is a Task Force Officer (TFO) of the FBI, and as such, is an

investigative or law enforcement officer of the United States within the meaning of Rule

41(a)(2)(C) of the Federal Rules of Criminal Procedure. Affiant is engaged in the enforcement of

criminal laws and is within a category of officers authorized by the Attorney General to request

and execute search warrants pursuant to Title 18 U.S.C. §§ 3052 and 3107; and DOJ regulations

set forth at Title 28 C.F.R. §§ 0.85 and 60.2(a). This affiant has been a police officer with the

City of Toledo, Lucas County since 2015 and has been a Detective with the Toledo Police Vice

Narcotics Unit since 2018. This affiant has been a TFO with the FBI since 2024. Since 2015, I

have received training and have experience in interviewing and interrogation techniques, arrest

procedures, search and seizure, search warrant applications, and various other crimes and

investigation techniques.
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       3.      This affidavit is submitted in support of a criminal complaint charging BRETT

TOOMAN with Travel with Intent to Engage in Illicit Sexual Conduct, 18 U.S.C. § 2423(b),

Coercion or Enticement, 18 U.S.C. § 2422(b), Receipt and Distribution of Child Pornography, 18

U.S.C. § 2252(a)(2).

       4.      All of the information contained in this affidavit is the result of either my personal

observations or investigation or has been provided to me by other law enforcement officers, all

of whom I believe to be reliable. This affidavit contains information to establish probable cause

for a criminal complaint, and thus, does not list every fact known in the investigation.

II.    Probable Cause

       5.      March 6, 2025, Online Covert Employee - 7478 (hereinafter “OCE”), who is a

member of the FBI Child Exploitation Task Force in Toledo, Ohio, was connected to the Internet

in an online undercover capacity from a cell phone located in Toledo, Ohio. A software program

was used to capture the online activity, chats, and images identified within Social Media

Application A. OCE had posted numerous online bulletin messages on specific social media

forums, which, based on OCE’s experience and information gathered from other sources, are

websites frequented by individuals who have a sexual interest in children and incest. The

bulletin messages were intended to attract individuals with a sexual interest in children. FBI

OCE would respond to certain messages or post messages on these public forums and provided

OCE’s Social Media Application A screen name for anyone wanting to contact OCE.
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       6.      On March 6, 2025, an individual with the Social Media Application A username

“@detNL” and display name ‘Th Nd”, later identified as BRETT TOOMAN, answered OCE’s

post by sending a Social Media Application A message to OCE. Screen shots of the

conversation are listed below and are used simply as a reference; the recorded chats should be

the final authority. TOOMAN is identified as “Subject.”

Subject: Hey brother

Subject: 35 Michigan bi guy here

Subject: Definitely enjoy the finer things [pizza slice emoji][devil head emoji]

…………….

OCE: 29m Toledo area here w/7yo day and access to a 6mo girl

Subject: Ever able to get this way?

Subject: Or ever host?

OCE: I’m able to host [devil head emoji]

……………..

Subject: Would love to come overover

……………

OCE: I’m not gay..

……………

Subject: Let’s each get one

Subject: Then swap

OCE: Mmmmm

Subject: I want to taste them both

OCE: Ever had young before?
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Subject: Stick my tongue deep in

………

Subject: Yng boy few years ago

………

Subject: Craving girl though

………

Subject: You ever fuck them?

Subject: Would love to sit back with you and let them suck us

OCE: The 7yo yes

Subject: I’ll be a good uncle

Subject: Fuck yes

………..

Subject: Want up tongue them both

Subject: Finger

Subject: Kiss

……….

Subject: Fuck if you’d let me but not necessary

Subject: What you want us to dodo

OCE: Both of them?

Subject: Yes bro

………..

Subject: Had a boy

Subject: Was so hot
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…………

OCE: how old was he

………….

Subject: 10

OCE: Nice

Subject: My friends brother

OCE: Hell ya

OCE: Not my thing but love young

Subject: Been wanting yng girls so bad bro

…………………………

OCE: Do u have any good vids to bring

Subject: I do

Subject: Lots

……………………………

Subject: Man I really hope you’re real

……………………………

Subject: Wish there was a way I could prove that I am real and very discreet

……………………………

Subject: Can I hold [name of purported infant] up and eat her out while [name of purported

seven-year-old] licks on my cock?

…………………………….

Subject: Wanna see a vid of what I want to do to her?

………………………………
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Subject: [On March 6, 2025, at approximately 12:55PM, sent a video of an approximately five-

year-old girl being anally raped by an adult male’s erect penis. OCE took a screen shot of the

child pornography video in the message thread and downloaded video file. Shortly after, Subject

deleted the video file from the message thread (a feature available to Social Media Application A

users]

Subject: Now you know I’m legit lol

……………………….

Subject: Can’t wait to tongue fuck her

……………………….

          On March 6, 2025, OCE and Subject made arrangement to meet at an agreed upon

location in Toledo, Ohio. However, Subject never showed at the prearranged location and

stopped messaging OCE. Approximately five hours later, Subject messaged OCE. Screen shots

of the conversation are listed below and are used simply as a reference; the recorded chats should

be the final authority.

Subject: Fuck man I’m sorry. I freaked myself out! As soon as I got it the highway I panicked

Subject: I’m fucking regretting not showing up

Subject: I’m sorry

Subject: I seriously hope we can try again man

Subject: I’ll come back right now just say the word.

……………………

Subject: I’d love another opportunity though

…………………..
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OCE: How do I know you aren’t fucking with us

………………….

Subject: Ugh I swear I’m not fucking with you man

Subject: I made a brash decision and it was dumb

Subject: Tell her I’m sorry

Subject: Fuck we would have had such a hot time

……………………

Subject: Is she asleep now?

OCE: Yeah

Subject: Sorry man. Like I said completely understand if you’re not interested anymore

Subject: But it would be hot af if I snuck in her room and pulled her pjs down and tongue fucked

her in her bed

………………….

OCE: Honestly feel like this is just fantasy and chat for you

Subject: I promise it’s not dude

…………………….

        On March 9, 2025, Subject messaged OCE on Social Media Application A. Screen shots

of the conversation are listed below and are used simply as a reference; the recorded chats should

be the final authority.

Subject: Hey bro

OCE: Hey
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………………………

Subject: Hoping you’ll give it another chance

OCE: Just depends if you’re going to do the same things as las time man

Subject: I’m kicking myself because I am pretty certain you’re legit

Subject: I should have went through with it. But I want to trust you and I want to have a good

time!

         On March 16, 2025, Subject messaged OCE on Social Media Application A. Screen

shots of the conversation are listed below and are used simply as a reference; the recorded chats

should be the final authority.

Subject: Hey man!

Subject: What are you guys up to

Subject: Any chance we can all get naked tonight?

OCE: Are you serious

Subject: Just thought I’d ask

Subject: I’m so fuckn horny man

Subject: I need to rub my cock in her slit

OCE: Just going to completely ignore that you’ve blown us off twice?

Subject: I’ve been really busy sorry man

Subject: [crying emoji]

Subject: I’ll do anything
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        On March 24, 2025, Subject messaged OCE on Social Media Application A. Screen shots

of the conversation are listed below and are used simply as a reference; the recorded chats should

be the final authority.

Subject: Hey man

Subject: Free today at all?

        On March 29, 2025, Subject messaged OCE on Social Media Application A. Screen shots

of the conversation are listed below and are used simply as a reference; the recorded chats should

be the final authority.

Subject: Hey

Subject: Morning. I’m free all day today and horny as fuuck

Subject: Any chance you’re free?

OCE: Hey bro

OCE: Could possibly be free this evening

Subject: Bro I’m so down

Subject: For real

Subject: Can’t stop touching my dick thinking about her clothes off while you watch

OCE: When and where bro.

Subject: I can come to you!

Subject: Have me over?

…………………….
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Subject: I will be there! I need to taste her cunny

…………………….

Subject: I want to lick her slit while she watches a baby get fucked

…………………….

Subject: I want the older one to suck me while you hold the baby’s pussy up to my mouth

……………………

Subject: Can we make the older girl luck the baby too?

Subject: I’m for sure getting my fingers in her pussy

…………………….

Subject: I want you to push the babes ass Down on my cock while I make out with the older girl

……………………

Subject: I can’t wait

Subject: Let’s get fucking twisted

……………………

Subject: [On March 29, 2025, at approximately 3:29PM, sent a video of child pornography. In

the video, an approximately four-year-old girl is laying on her back, completely nude. An adult

male is pinning the child’s legs back while he performs oral sex on the child]

Subject: Let’s take turns on her like this

Subject: Please

Subject: Well each get one then swap

OCE: Fuckkkk nice
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OCE: You going to do that to the baby?!

Subject: If you let me then fuck yeah

Subject: I bet she tastes incredible

……………………

       On March 29, 2025, at approximately 5:30PM, Subject, who was identified at BRETT

TOOMAN, was located at the prearranged location and placed under arrest by members of the

Toledo Police Departments and members of the FBI’s Toledo Child Exploitation and Human

Trafficking Task Force.

During the course of TOOMAN’s arrest two smaller bags of cocaine were located in

TOOMAN’s vehicle.

       7.      Members of the FBI’s Toledo Child Exploitation and Human Trafficking Task

Force transported TOOMAN to the Toledo Police Safety Building located at 525 N. Erie,

Toledo, Ohio, 43604 to be interviewed. Prior to TOOMAN being interviewed, TOOMAN was

advised of his Miranda Rights and signed the waiver stating that he understood. During the

interview, TOOMAN stated that he had been viewing child pornography for the past few years.

TOOMAN stated that he would receive the child pornography from other people that he would

meet, and they would share the child pornography with each other. TOOMAN stated that he uses

cocaine, and that the cocaine that was located in the vehicle was his.

       8.      TOOMAN was asked about the events that led to his arrest (the above listed

chats), and he stated, “bad decisions”. He further stated that we, the interviewers, knew why he

was arrested. TOOMAN stopped the interview at this point. At this time, the interview was

complete and TOOMAN was transported to the Lucas County Jail.
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       9.     Based on the information contained herein, I believe probable cause exists that

TOOMAN has violated 18 U.S.C. § 2422(b) Coercion or Enticement, 18 U.S.C. § 2423(b) by

Traveling Interstate with Intent to Engage in Illicit Sexual Conduct with a minor and 18 U.S.C. §

2252(a)(2) Receipt and Distribution of Child Pornography.




                                                            Respectfully Submitted,




                                                            ___________________________
                                                            TFO Stephen M. Malaczewski, FBI

Sworn to via telephone after submission by
reliable electronic means pursuant to
Crim.R. 41(d)(3) and 4.1, this 31st date
of March 2025.



___________________________
DARRELL A. CLAY
UNITED STATES MAGISTRATE JUDGE
